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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS

EXPORT DEVELOPMENT CANADA,       §
                                 §
           Plaintiff,            §
                                 §
v.                               §                          Civil Case No. ___________
                                 §
HANOVER SPECIALTIES, INC., d/b/a §
VITRITURF,                       §
                                 §
           Defendant.

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff Export Development Canada, (“EDC” or “Plaintiff”) files this original complaint

against Defendant, Hanover Specialties, Inc. d/b/a Vitriturf (“Hanover”), and shows the Court

the following:

                                            PARTIES

       1.        Plaintiff EDC is a Canadian Crown Corporation with its principal offices and

place of business at 150 Slater St., Ottawa, Ontario, Canada K1A 1K3. EDC is the successor in

interest to Les Revetements Polyval Inc. (“Polyval”), a Canadian corporation, pursuant to the

assignment agreement by and between EDC and Polyval dated February 14, 2019.

       2.        Defendant Hanover Specialties, Inc. is a New York corporation and maintains,

with its principal place of business in New York and regional headquarters in Pilot Point, Texas.

Hanover may be served through its CEO and President Steve Noskin, at 6496 Silver Stream

Lane, Frisco, Texas 75038 or wherever he may be found.

                                 JURISDICTION AND VENUE

       3.        The court has personal jurisdiction over Hanover in this action because Hanover

has engaged in continuous and systematic activities with the State of Texas as evidenced by its


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registration to conduct business in Texas, its regional headquarters located in Texas, and

conducting business and offering services in Texas. Moreover, many of the shipments at issue in

this action were delivered to Hanover’s warehouse in Texas.

       4.      The    court   has   subject   matter    jurisdiction   over   this   action    under

28 U.S.C. § 1332(a) because the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs, and is between citizens of different States. EDC and Polyval are

citizens of Canada, and Hanover is a citizen of New York with a registered office in the Eastern

District of Texas.

       5.      Venue is proper in the Court under 28 U.S.C. § 1391(b)(1)-(3) because Hanover’s

registered office in Texas is located in the Eastern District of Texas and a substantial part of the

events or omission giving rise to the claims occurred in the Eastern District of Texas.

                                              FACTS

       6.      Polyval is Canadian based company engaged in the business of, among other

things, providing high–performance industrial strength protective coatings to its customers

across the globe. Hanover, also known as “Vitritruf,” is in the business of installing cushioned,

seamless flooring surfaces for playgrounds and other multi-purpose systems across the country,

including in the state of Texas. Hanover utilizes the coatings, also known as a polyurethane

“binder,” offered by Polyval with other materials to create the rubber layer of the seamless

cushioned surfaces.

       7.      Polyval’s and Hanover’s business relationship began in or around 2015. Hanover

would place an order with Polyval by requesting certain amounts of top and base binder (the

“Materials”), to be delivered to one of Hanover’s warehouses located in Texas, New York,

Tennessee or Florida. Once an order was placed, Polyval would agree to sell to Hanover the

requested Materials pursuant to the terms and conditions reflected on the related invoices, which


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required payment by Hanover within 120 days. Over the course of their business dealings, the

volume of Materials purchased by Hanover increased substantially, with several of the shipments

delivered to Hanover’s regional headquarters in Pilot Point, Texas located in Denton County.

           8.      In or around August 2018, Polyval began placing orders with Polyval for certain

Materials to be shipped to its warehouses. Consistent with their ordinary course of business,

Polyval agreed to sell, and Hanover agreed to buy, the requested Materials pursuant to the same

customary terms and conditions, including full payment for the Materials within 120 days (the

“Agreements”). More important to this litigation, the Agreements created an account (the

“Account”) where Hanover could purchase the Materials from Polyval on credit with payment

due pursuant to the terms of the Agreements and the invoices issued by Polyval.

           9.      At Hanover’s request, Polyval delivered and Hanover accepted the Materials,

agreeing to pay the designated prices listed in the invoices within 120 days.

           10.     Despite having accepted delivery of the Materials, however, Hanover failed to

pay for the Materials pursuant to certain invoices provided to Hanover (the “Invoices”) as

outlined in the following chart:



                       DATE               INVOICE NUMBER           AMOUNT DUE

                      8/2/2018                   INV122765         $40,068.00
                    12/19/2018                  PMT009164 1        -$1,500.00
                     8/23/2018                   INV122966         $62,124.00

                     8/30/2018                  INV123038          $60,408.00

                     8/31/2018                  INV123068          $43,468.00

                     9/18/2018                  INV123240          $60,156.00
                      9/6/2018                  INV123298          $16,632.00

1
    This payment was applied against Invoice No. 122765.


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                9/28/2018                INV123396               $59,184.00

                10/11/2018               INV123491               $30,816.00
                10/23/2018               INV123637               $29,592.00

                10/23/2018               INV123638               $18,358.00

                11/13/2018               INV123905               $52,092.00

                11/21/2018               INV123999               $9,686.00
                11/30/2018               INV124095               $60,023.00
             AMOUNT UNPAID:                                      $541,107.00

       11.     Despite repeated written demands to Hanover, Polyval has been unable to collect

the unpaid amounts for the Materials. After all credits and offsets, $541,107.00 remains past due.

       12.     On or around February 14, 2019, Polyval assigned all right, title, and interest in

the Agreements, Account, and Invoices to EDC. As of the date of this Complaint, the principal

amount due and owing to EDC is $541,107.00, plus interest and attorneys’ fees.

       13.     All conditions precedent to EDC’s recovery have been fully performed, or have

occurred, or have been waived.

                         COUNT ONE—BREACH OF CONTRACT

       14.     Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

       15.     Polyval and Hanover entered into the Agreements that allowed Hanover to

purchase the Materials on credit from Polyval, with payment due within 120 days. Polyval fully

performed its obligations under the Agreement by delivering Materials to Hanover, which were

accepted by Hanover.

       16.     Despite demand, Hanover breached the Agreements and its obligations under the

Agreements, by wrongfully failing and refusing to pay the amounts due and owing for the



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Materials. As a result of these breaches, Hanover directly and proximately caused EDC, as

successor in interest to Polyval, damages in the amount of at least $541,107.00, plus pre-

judgment interest, attorneys’ fees, and costs and expenses allowed by applicable law.

                            COUNT TWO—UNPAID ACCOUNT

       17.     Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

       18.     In the alternative and without waiving the foregoing, in the ordinary course of its

business and pursuant to the Agreements, Polyval provided the Materials to Hanover. The

Materials were provided at the request of Hanover. Hanover accepted the Materials and agreed to

pay the designated prices, which were reasonable, usual, and customary prices for the Materials.

As detailed above, a systematic record of the Materials was kept.

       19.     Despite demand for payment, Hanover has defaulted in making payment on the

Account and continues to fail and refuse to pay the amount due on the Account. The principal

amount due to EDC on the Account, after all just and lawful offsets, credits and payments have

been allowed is at least $541,107.00, plus pre-judgment interest, attorneys’ fees, and costs and

expenses allowed by applicable law.

                          COUNT THREE—QUANTUM MERUIT

       20.     Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

       21.     In the alternative and without waiving the foregoing, Polyval, acting in the

ordinary course of business, furnished Hanover with certain Materials, as detailed above.

Hanover received and accepted the Materials, unjustly enriching Hanover at the expense of EDC

as successor in interest to Polyval. Hanover knew, or should have known, that the Materials

were provided in anticipation of compensation, and were not furnished gratuitously. After all


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offsets, payments and credits, the reasonable unpaid value of the Materials is at least

$541,107.00. Despite demand, Hanover wrongfully refused to pay the reasonable value of the

Materials, for which sum EDC sues.

                         COUNT FOUR—UNJUST ENRICHMENT

       22.     Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

       23.     In the alternative and without waiving the foregoing, at Hanover’s request,

Polyval furnished Hanover with certain Materials, as detailed above. Hanover received and

accepted the Materials, unjustly enriching Hanover at the expense of EDC as successor in

interest to Polyval. Hanover knew, or should have known, that the Materials were provided in

anticipation of compensation, and were not furnished gratuitously. After all offsets, payments

and credits, the reasonable unpaid value of the Materials is at least $541,107.00.

       24.     It violates equity and good conscience to allow Hanover to retain the Materials

without just compensation to EDC. By reason of the forgoing, EDC has sustained and will

continue to sustain damages in an amount to be determined at trial, but in no event less than

$541,107.00.

                            COUNT FIVE—ATTORNEY’S FEES

       25.     Each of the foregoing paragraphs are incorporated and reasserted herein by

reference.

       26.     Polyval previously presented Hanover with written demand for its claims.

Despite demand, Hanover failed and refused to pay the balances due. As a result, EDC has been

required to retain the law firm of Bell Nunnally & Martin, LLP to enforce its rights and has

agreed to pay the firm a reasonable fee for its services, both herein and in the event of any

appeals or petitions for review. EDC has incurred, and will continue to incur, reasonable


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attorneys’ fees, which it seeks to recover as damages from Hanover pursuant to Section 38.001

of the Texas Civil Practice and Remedies Code, and other applicable law.

                                          PRAYER

       WHEREFORE, premises considered, Plaintiff Export Development Canada requests that

Defendant Hanover Specialties, Inc. be cited to appear and answer this Complaint and that upon

final hearing that Export Development Canada have judgment against Defendant Hanover

Specialties, Inc. as follows:

       a.      Damages in the principal amount of approximately $541,107.00 based on the
               causes of action asserted in Counts one through four above;

       b.      Pre- and post-judgment interest at the maximum rate allowed by applicable law;

       c.      Reasonable attorneys’ fees and expenses for pre-trial, trial, and any subsequent
               appeal and petitions for review;

       d.      All costs of suit; and

       e.      All such other and further relief, at law and in equity, to which EDC may be
               entitled in law or equity.


                                            Respectfully submitted,

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